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              UNITED STATES DISTRICT COURT
              SO               DISTRICT OF GEORGIA
                             ANNAH DIVISION

JAMERSON VASHON                      )



    Movant,                          )



V.                                   )     Case No.    CV411-292
                                     )                 CR408-3 15
UNITED STATES OF AMERI               )



     Respondent.                     )




                             ORDER
      Let a copy of this Report and Recommendation be served upon movant
and counsel for responcent. Any objections to this Report and
Recommendation must be fild with the Clerk of Court not later than January
21 1 2013. The Clerk shall     nit this Report and Recommendation together
with any objections to the     norable William T. Moore, Jr., United States
District Judge, on January 22, 2013. Failure to file an objection within the
specified time means that this Report and Recommendation may become the
opinion and order of the Coirt, Nettles v, Wainwright, 677 F.2d 404 (5th Cir.
1982), and further waives he right to appeal the District Court's Order.
Thomas v. Am, 474 U.S. 140 E1985).
      All requests for additional time to file objections to this Report and
Recommendation should be 1 filed with the Clerk for consideration by the
District Judge to whom this cs is assigned.
      SO ORDERED this 7              day of January, 2013.


                                                  UNITED STATES \AQISTRATE JUDGE
                                                  SOUTHERN DISTRICT OF GEORGIA
